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 1               UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA
 2
        IN RE: OIL SPILL                 MDL NO. 2179
 3      BY THE OIL RIG
        "DEEPWATER HORIZON"              SECTION:       J
 4      IN THE GULF OF
        MEXICO, ON APRIL                 JUDGE BARBIER
 5      20, 2010                         MAG. JUDGE SHUSHAN
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                  Volume 2 of 2 of the Videotaped
16     Deposition of GREGORY STEPHEN WALZ, 20742
       Castle Bend Drive, Katy, Texas, taken in
17     the Pan American Life Center, Pontchartrain
       Room, 11th Floor, 601 Poydras Street, New
18     Orleans, Louisiana 70130, on Friday, April
       22, 2011.
19
       APPEARANCES:
20
       ON BEHALF OF THE PLAINTIFFS
21     STEERING COMMITTEE
22
23     DEGRAVELLES, PALMINTIER, HOLTHAUS & FRUGE '
       By: John W. deGravelles, Esquire
24     618 Main Street
       Baton Rouge, LA 70801-1910
25

                        GAUDET KAISER, L.L.C.
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 1             THE VIDEOGRAPHER:
 2                             One hour and 25 minutes.
 3             MR. GODWIN:
 4                             Okay.
 5             MR. LANCASTER:
 6                             Thank you.
 7             MR. GODWIN:
 8                             And let me know when I've
 9     used up -- I've got 1:53, so tell me when
10     I've used up -- that means I've got 28
11     minutes left.         Let me know when I have used
12     up 15, 15 from right now.                Maybe I'll be
13     done.
14     BY MR. GODWIN:
15             Q.      Okay.      Let's look at tab number
16     30.     Fifteen minutes.
17                     It's been marked as Exhibit
18     1807.
19                             (Exhibit 1807 was marked
20     for identification.)
21     BY MR. GODWIN:
22             Q.      1807.      I'm just referring to the
23     e-mail there on the bottom part of the
24     exhibit from Richard Miller to Brian Morel
25     with a copy to Mark Hafle.                You see that,


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 1     sir?
 2            A.       Yes, sir.
 3            Q.       And have you seen a copy of this
 4     e-mail prior to today or prior to just now?
 5            A.       Yeah, in earlier testimony.
 6            Q.       Look, if you will, please, in
 7     the third full paragraph, which is what I
 8     am addressing, where it says, "The well
 9     capped model predicts an incremental 2350
10     psi APB in that annulus."
11                     And it goes on to say -- here's
12     the sentence I'm focusing on:                  "To keep the
13     seven-inch from collapsing, the pressure
14     inside the seven-inch at 17,157 feet TVD
15     needs to be 4800 psi or greater."
16                     Did I read that correctly?
17            A.       Yes, sir.
18            Q.       It appears that even prior to
19     the incident that there was concern that
20     the casing at some point might have an
21     issue with collapsing based on this e-mail,
22     does it not?
23            MR. LANCASTER:
24                             Object to the form.
25            THE WITNESS:


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 1                             Well, this is just running
 2     the checks that -- for the production loads
 3     scenarios associated with the well and as
 4     far as annular pressure buildup.
 5     BY MR. GODWIN:
 6             Q.      But it talks about there, to
 7     keep the seven-inch from collapsing.                      In
 8     other words, there was consideration being
 9     given on April 15 that we need to be aware
10     that there's a chance that the casing could
11     collapse at some level according to this
12     e-mail.       Doesn't it say that?
13             A.      Yes, sir.        We checked that for
14     every well.
15             Q.      Thank you, sir.           And, of course,
16     you had a concern as well.                You said after
17     the incident that you thought that one of
18     the scenarios was that the casing had
19     collapsed, did you not?
20             A.      Yes, but it has nothing to do
21     this.
22             Q.      Thank you, sir.           Thank you.
23                     Now, let's look at -- let's look
24     at tab number 35 in the materials.                    It's
25     been marked as Exhibit 1808.


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